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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

Carolyne Lord,                               )
                                             )
Plaintiff,                                   )
                                             )
v.                                           )              Docket No.
                                             )
Ocwen Loan Servicing, LLC,                   )
                                             )
Ocwen Financial Corp.,                       )
                                             )
Deutsche Bank National Trust Company,        )
as Trustee for Ameriquest Mortgage           )
Securities Inc., Asset-Backed Pass-          )
Through Certificates, Series 2005-R3         )
                                             )
Defendants.                                  )


                                         COMPLAINT
                                       INTRODUCTION
        This is an action for actual, compensatory, statutory, and punitive damages brought by

Carolyne Lord (the “Plaintiff” or “Ms. Lord”), an individual consumer, against Ocwen Financial

Corp. (“OFC”), their subsidiary Ocwen Loan Servicing, LLC (“Ocwen”) and Deutsche Bank

National Trust Company, as Trustee for Ameriquest Mortgage Securities Inc., Asset-Backed

Pass-Through Certificates, Series 2005-R3 (“Deutsche Bank”) (collectively, the “Defendants”),

for violations of the Bankruptcy Code’s Discharge Injunction pursuant to 11 U.S.C. § 524, the

federal Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq. and the Maine Fair Debt

Collection Practices Act, 32 M.R.S.A. §§ 11001 et seq. (collectively, the “FDCPA”), the Maine

Unfair Trade Practices Act (“UTPA”) 5 M.R.S.A. § 205-A et al; and the Real Estate Settlement

Procedures Act (“RESPA”) 12 U.S.C. §2506 et al.

                            I.      JURISDICTION AND VENUE



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1.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 1367.

2.      Venue is proper here pursuant to 28 U.S.C. § 1391, as the Plaintiff is a resident of York

County, Maine, all relevant events giving rise to the Plaintiff’s claims occurred in this District,

and Defendants were doing business in Maine during all relevant times.

                                         II.       PARTIES

3.      Plaintiff Carolyne Lord is a natural person residing in York, Maine.

4.      Defendant Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage

Securities Inc., Asset-Backed Pass-Through Certificates, Series 2005-R3 (“Deutsche Bank”) is a

financial institution with a principal place of business in Los Angeles, California.

5.      Defendant OFC is a financial services holding company which services loans through

subsidiaries, including Ocwen. OFC is a Florida corporation headquartered in West Palm Beach,

Florida.

6.      Ocwen is a subsidiary of OFC and a limited liability company organized under the laws

of Delaware, with a principal place of business in Florida.

7.      Defendant Ocwen acquired servicing of the Plaintiff’s loan on or around October 2013,

when said loan was in default.

8.      Defendant Ocwen has been the servicer of the Plaintiff’s loan for, and under the

authority, direction, and control of, Defendant Deutsche Bank since acquiring servicing of the

loan.

9.      By employing Ocwen to service the Plaintiff’s loan, Deutsche Bank was acting as the

principal of Ocwen.

10.     As servicer of the Plaintiff’s loan, Defendant Ocwen was and is acting as the agent of

Defendant Deutsche Bank.



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11.      Ocwen uses any instrumentality of interstate commerce and/or the mails in the collection

of debts.

12.      The principal purpose of Ocwen’s business is the collection of debts.

13.      Or, the principal purpose of Ocwen’s business is the enforcement of security interests.

14.      Ocwen regularly collects or attempts to collect, directly or indirectly, debts owed or due

or asserted to be owed or due another.

15.      Ocwen regularly collects or attempts to collect debts owed or due or asserted to be owed

or due another that are in default at the time they obtain such debts.

16.      At all times relevant to this matter, Ocwen was a “debt collector” as that term is defined

in the FDCPA, 15 U.S.C. § 1692a(6), 32 M.R.S.A. § 11002(6).



                                            III.   FACTS

Carolyne Lord’s Bankruptcy

      17. On February 12, 2005, Carolyne Lord entered into a Mortgage and Note (hereinafter

         “loan”) with Ameriquest Mortgage Company on her property at 57 Maple Crest Rd.,

         Parsonfield, ME 04047.

      18. The property is a single family residential property and the loan was secured by a first

         lien on the property.

      19. The loan was made by Ameriquest Mortgage Company who, at the time of origination,

         was a creditor who regularly extended consumer credit payable by agreement in more

         than four installments, was the entity to whom the debt arising from the consumer credit

         transaction was initially payable on the face of the Mortgage and Note, and made

         residential real estate aggregating more than $1,000,000 per year.


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20. The loan is a “federally related mortgage loan” as that term is used in 12 U.S.C. § 2605

   and defined in 12 U.S.C. § 2602(1) and 12 C.F.R. §1024.2.

21. The loan was sold to Deutsche Bank and placed in the Deutsche Bank Trust soon after

   origination.

22. On November 17, 2010, Ms. Lord filed a chapter 13 bankruptcy, case number 10-21910

   in the U.S. Bankruptcy Court, District of Maine. A true and accurate copy of the Court

   Docket in the matter is attached hereto as Exhibit 1. By reference to the case number for

   her bankruptcy matter, the Plaintiff hereby incorporates her bankruptcy court filings in

   same. Specific docket entries are referred to as “Bankr. Doc.___ .”

23. Ms. Lord filed her initial chapter 13 plan on November 17, 2010, stating she would make

   ongoing payments to the mortgagee on her property at 57 Maple Crest Road, Parsonfield,

   ME. (Bankr. Doc.s 1, 3).

24. American Home Mortgage Servicing, Inc. (AHMS) was servicing the loan at 57 Maple

   Crest Road, Parsonfield, ME on behalf of Deutsche Bank at the time.

25. AHMS received notice of the bankruptcy filing. (Bankr. Doc. 6 ).

26. Deutsche Bank filed a Proof of Claim on the Parsonfield loan, listing AHMS as the name

   and address of where notices and payments should be sent. (Bankr. Doc. Claim No. 3).

27. The Bankruptcy Court ordered an interim confirmation of the plan on March 2, 2011, and

   for final confirmation to be addressed with a Motion to Allow and Disallow Claims.

   AHMS received notice of the Court Order on interim confirmation. (Bankr. Doc. 18).

28. Ms. Lord filed a Motion to Allow and Disallow Claims (“MADC”) on June 20, 2011.

   AHMS received notice of the filing. (Bankr. Doc. 19, 20 ).




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29. In the MADC, Ms. Lord sought to avoid a second mortgage on the Parsonfield property

   and to continue paying AHMS directly for the first mortgage.

30. The Court entered an Order Allowing and Disallowing Claims on September 29, 2011.

   (Bankr. Doc. 34, 35, 36).

31. Attorney Leonard F. Morley Jr. of Shapiro and Morley entered an appearance on behalf

   of Deutsche Bank in the bankruptcy on May 3, 2012. (Bankr. Doc. 37).

32. Deutsche Bank filed a Motion for Relief from Stay on May 31, 2012, to foreclose on the

   Parsonfield property. (Bankr. Doc. 38 ).

33. Ms. Lord consented to Deutsche Bank’s Motion for Relief from Stay.

34. The Court granted Deutsche Bank’s Motion for Relief from Stay on June 26, 2012.

   (Bankr. Doc. 39, 40 ).

35. Ms. Lord decided to surrender the Parsonfield property and filed a Motion to Amend the

   Order on the MADC on October 15, 2012, to specifically amend her plan to surrender the

   property in full and final satisfaction of Deutsche Banks’s claim on the property. AHMS,

   on behalf of Deutsche Bank, received notice of the Motion. (Bankr. Doc. 44, 45).

36. The Court granted the Motion to Amend the Order Allowing and Disallowing Claims on

   January 19, 2013, which allowed Ms. Lord to surrender the Parsonfield property in full

   and final satisfaction of Deutsche Bank’s claim. AHMS and Deutsche Bank received the

   Order. (Bankr. Doc. 53, 54 ).

37. Ms. Lord moved out of the property around May 2013. She continued to pay for the

   electricity to make sure the basement sump pumps still worked. She checked on the

   property every two weeks.




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38. During one of these visits in the summer of 2013, Ms. Lord found the locks had been

   changed. She also found about $800 worth of her personal property stolen, which she

   reported to the police but was never recovered.

39. Upon information and belief, the property management company retained by Deutsche

   Bank to maintain the property was responsible for the lock change and stolen property.

40. On October 17, 2013, Ocwen Loan Servicing, LLC, on behalf of Deutsche Bank/AHMS

   filed a transfer of claim from Deutsche Bank/AHMS to Deutsche Bank/Ocwen Loan

   Servicing, LLC (“Ocwen”). (Bankr. Doc. 60, 61). Ocwen was the new servicer of the

   Parsonfield property loan on behalf of Deutsche Bank.

41. At the time Ocwen took on servicing of the loan, the loan was in default.

42. During this time, when Deutsche Bank did not initiated foreclosure proceedings, Ms.

   Lord contacted a real estate agent to do a short sale of the Parsonfield property.

43. Ms. Lord submitted a purchase and sale agreement dated December 12, 2013 to Ocwen in

   the amount of $80,000. A true and accurate copy of the agreement is attached hereto as

   Exhibit 2 and incorporated herein.

44. Ms. Lord moved to engage the real estate agent to conduct the short sale and the

   bankruptcy court granted the motion on February 13, 2014.

45. Ocwen, however, rejected the purchase and sale offer and the sale fell through.

46. Deutsche Bank filed a Complaint for Foreclosure on the Parsonfield property against Ms.

   Lord in the Maine State District Court, Springvale, on January 29, 2016. A true and

   accurate copy of the Complaint and Certificate of Notice are attached hereto as Exhibit 3

   and incorporated herein.




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   47. Ms. Lord completed her chapter 13 bankruptcy and was granted her discharge on August

      10, 2016. AHMS, Ocwen, and Deutsche Bank received notice of the discharge. (Bankr.

      Doc. 91).

   48. Judgment entered on Deutsche Bank’s foreclosure action against Ms. Lord on June 23,

      2017. A true and accurate copy of the Judgment is attached hereto as Exhibit 4 and

      incorporated herein.

   49. The foreclosure judgment stated that “[n]o deficiency is sought by the Plaintiff as,

      pursuant to an Order Discharging Debtor entered on August 10, 2016…the Defendants

      are not liable for any deficiency balance remaining due to the Plaintiff after the sale of the

      mortgaged real estate and application of the proceeds of sale.” Ex. 4, p. 2.

   50. The 90-day redemption period pursuant to 14 M.R.S.A. § 6322 ran on September 21,

      2017.

Communications from Ocwen to Carolyne Lord

   51. Ocwen delivered numerous “Delinquency Notice[s]” directly to Ms. Lord, including but

      not limited to notices delivered on or around October 17, 2016; November 15, 2016;

      December 16, 2016; January 19, 2017; February 17, 2017; March 21, 2017; April 21,

      2017; May 24, 2017; June 20, 2017; August 18, 2017; and, September 19, 2017.These

      “Delinquency Notice[s]” state payment amounts due and their due dates and that Ms.

      Lord “must pay this amount…” True and accurate copies of the Ocwen Delinquency

      Notices are attached hereto as Exhibit 5 and incorporated herein.

   52. On or around at least December 1, 2016, Ocwen delivered to Ms. Lord a copy of an

      insurance policy that Ocwen had placed on the Parsonfield property, stating that the




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   annual premium would be billed to her loan. A true and accurate copy of the December 1,

   2016, notice is attached hereto as Exhibit 6 and incorporated herein.

53. On or around December 15, 2016, Ocwen delivered to Ms. Lord a notice of insurance

   options regarding her obligation to provide evidence of sufficient insurance coverage for

   the property. A true and accurate copy of the December 15, 2016, notice is attached

   hereto as Exhibit 7 and incorporated herein.

54. Ocwen delivered multiple letters to Ms. Lord regarding hazard insurance on the property,

   including but not limited to letters delivered on or around September 17, 2015; October 5,

   2016; November 4, 2016; December 15, 2016; September 20, 2017; and, October 17,

   2017. Most of these letters state that Ms. Lord would be charged over $1,000.00 for the

   annual premium on the insurance maintained by Ocwen. True and accurate copies of the

   hazard insurance letters are attached hereto as Exhibit 8 and incorporated herein.

55. On or around February 17, 2017, Ocwen delivered to Ms. Lord an “Annual Escrow

   Account Disclosure Statement,” which provided the “first monthly mortgage

   payment…due on 04/01/2017, will be $898.71.” A true and accurate copy of the

   February 17, 2017, escrow statement is attached hereto as Exhibit 9 and incorporated

   herein.

56. Ocwen alleged an ever-increasing “Amount Due” of over $190,000, a “Due Date” stating

   “Due Now,” and attached a payment coupon including the alleged amount due in

   multiple monthly mortgage account statements delivered from Ocwen to Ms. Lord,

   including but not limited to statements dated December 19, 2016; January 17, 2017;

   February 17, 2017; March 17, 2017; April 17, 2017; May 17, 2017; June 19, 2017;

   August 17, 2017; September 18, 2017; and, November 17, 2017. The most recent




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     statement alleges a “Total Amount Due” of $206,380.47. True and accurate copies of the

     Ocwen monthly mortgage account statements are attached hereto as Exhibit 10 and

     incorporated herein.

  57. Ocwen made over 75 calls to Ms. Lord regarding the mortgage debt from at least

     November 2016 to the present.

  58. On or around mid-May, 2017, Ocwen called and spoke with Ms. Lord about the alleged

     debt. The representative stated he was her relationship manager and Ms. Lord gave him

     her bankruptcy information.

  59. On or around July 11, 2017, Ocwen called and spoke with Ms. Lord. The representative

     explained he was a debt collector and this was an attempt to collect a debt. Ms. Lord

     explained about her bankruptcy and gave them information related to her case and

     attorneys.

  60. On October 3, 2017, Ocwen called and spoke with Ms. Lord. The representative stated

     that there was $65,187.00 past due and $151,951.00 due total on her mortgage loan and

     wanted to know how she planned to address that. He then explained loss mitigation

     options to her.

  61. Ocwen called and spoke with Ms. Lord on October 18, 2017. Ocwen asked if she was

     interested in financing options to cure the default on the loan and gave her a list of

     agencies and websites that could help her. The representative then asked if she wanted to

     make a payment on the account.

Communications to Ocwen

  62. Ms. Lord, through counsel, delivered a letter dated June 30, 2017, to Ocwen at their

     address designated for Qualified Written Requests. The letter contained Ms. Lord’s name,


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     address, the last four digits of her social security number, loan number, and account

     number. Ocwen received the letter on July 3, 2017. The letter was a Notice of Error

     pursuant to 12 C.F.R. § 1024.35. A true and accurate copy of the letter with attachments

     and return receipt is attached hereto as Exhibit 11 and incorporated herein.

  63. Ocwen did not respond to the June 30, 2017 letter and continued to deliver letters and

     make calls to Ms. Lord attempting to collect on the discharged debt as outlined above.

  64. In a written demand for relief dated October 5, 2017, a true and accurate copy of which,

     along with attachments and proof of deliver, is attached hereto as Exhibit 12 and

     incorporated herein, Ms. Lord, through counsel, notified Duetsche Bank of unfair and

     deceptive conduct pursuant to the Maine Unfair Trade Practices Act (UTPA) 5 M.R.S.A.

     § 213, outlining Ms. Lord’s bankruptcy and Ocwen’s attempts to collect on the

     discharged debt. Deutsche Bank did not respond to the October 5, 2017, letter.

  65. Ms. Lord, through counsel, delivered a letter dated October 5, 2017, to Ocwen at their

     address designated for Qualified Written Requests. The letter was designated a Request

     for Information and Notice of Error pursuant to 12 C.F.R. §§ 1024.35 & .36 regarding

     Ocwen’s attempts to collect on the discharged debt. The letter contained Ms. Lord’s

     name, address, the last four digits of her social security number, bankruptcy case number

     and account number. Ocwen received the letter on October 10, 2017. A true and accurate

     copy of the letter, attachments, and return receipt is attached hereto as Exhibit 13 and

     incorporated herein.

  66. The October 5, 2017 letter to Ocwen was also a demand letter pursuant the Maine Unfair

     Trade Practices Act (“UTPA”), 5 M.R.S.A. § 213, outlining Ms. Lord’s bankruptcy and

     Ocwen’s attempts to collect on the discharged debt. See Exhibit 13.




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  67. Ocwen acknowledged receipt of the October 5, 2017, letter in a letter dated October 17,

     2017. A true and accurate copy of the letter is attached hereto as Exhibit 14 and

     incorporated herein.

  68. Ocwen responded to the October 5, 2017, letter in a letter dated November 3, 2017. In the

     letter, Ocwen acknowledged Ms. Lord’s chapter 13 bankruptcy but stated that they were

     notified the property was not surrendered and the loan is still outstanding and has not

     been paid in full. A true and accurate copy of the letter is attached hereto as Exhibit 15

     and incorporated herein.

  69. Ocwen did not respond to the demand made pursuant to UTPA.

  70. When Ocwen failed to acknowledge, let alone correct their error, Ms. Lord paid certified

     mailing costs and attorney’s fees to write and deliver yet another Qualified Written

     Request to Ocwen.

  71. Ms. Lord also incurred substantial travel costs to meet with her attorneys twice due to

     Ocwen’s failure to correct its errors. Ms. Lord presently resides in Roxbury, ME,

     resulting in round trips of close to 200 miles. This amounts to total travel costs of at least

     $205.55, calculated using the IRS standard business travel rate of 53.5 cents per mile for

     2017.

  72. Ms. Lord, through counsel, delivered a letter dated November 9, 2017, to Ocwen at their

     address designated for Qualified Written Requests. Ms. Lord also faxed the letter to the

     number designated in Ocwen’s November 3, 2017, letter. The letter contained Ms. Lord’s

     name, address, the last four digits of her social security number, bankruptcy case number,

     and account number. The letter was a Request for Information and Notice of Error

     pursuant to 12 C.F.R. §§ 1024.35 & .36. Ocwen received the letter on November 14,




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     2017. A true and accurate copy of the letter, attachments, and return receipt is attached

     hereto as Exhibit 16 and incorporate herein.

  73. The November 9, 2017, letter again provided proof that the property had been

     surrendered in the chapter 13 bankruptcy and the debt discharged.

  74. In a letter dated November 14, 2017, Ocwen acknowledged receipt of the November 9,

     2017, letter from Ms. Lord. A true and accurate copy of the letter is attached hereto as

     Exhibit 17 and incorporated herein.

  75. In a letter dated December 8, 2017, Ocwen admitted that Ms. Lord had surrendered the

     property in her bankruptcy and that Ms. Lord is not personally liable for the mortgage

     loan debt. Ocwen, however, continues to misrepresent that Ocwen may foreclose on the

     property if the required payments are not received, after they had already completed a

     foreclosure. A true and accurate copy of the letter is attached hereto as Exhibit 18 and

     incorporated herein.

  76. After Ms. Lord’s discharge, Ocwen reported a balance due and late payments on the loan

     to credit reporting agencies.

  77. As of November 21, 2017, Ocwen was reporting to Experian a “recent balance” of

     $151,952 due on the loan and a “past due amount” of $73,372.

  78. Ocwen has continued to communicate with Ms. Lord about the property and demand

     money from Ms. Lord that she does not owe due to the bankruptcy discharge and

     foreclosure judgment. See Ex.s 5, 6, 8, 9 and 10.

  79. Upon information and belief, and based on Ocwen’s conduct to date, they will continue

     to call Ms. Lord and send her notices attempting to collect, and related to, the mortgage

     debt.




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  80. Upon information and belief, Ocwen has inadequate policies and procedures in place to

     process accounts that are transferred to them and process debts discharged through

     bankruptcy including mortgage loans surrendered in a chapter 13 bankruptcy.

  81. Upon information and belief, Ocwen does not have proper policies and procedures in

     place to properly process Maine foreclosure actions.

  82. Upon information and belief, Ocwen has engaged in a pattern and practice of failure to

     integrate accounts transferred to them to accurately reflect the current status and balance

     of the borrower’s loan and for attempting to collect on amounts not due under mortgage

     loans from bankruptcy debtors as they did with Ms. Lord.

  83. Upon information and belief, Ocwen has engaged in a pattern and practice of attempting

     to collect mortgage debts from debtors that they do not owe. See e.g., In re Alley, 09-

     21500, 2014 WL 2987656, at *1 (Bankr. D. Me. July 1, 2014); Yarney v. Ocwen Loan

     Servicing, LLC, 929 F. Supp. 2d 569, 577-78 (W.D. Va. 2013); Oliver v. Ocwen Loan

     Services, LLC, C12-5374 BHS, 2013 WL 210619, at *4-5 (W.D. Wash. Jan. 18, 2013);

     Saccameno v. Ocwen Loan Servicing, LLC, 15 C 1164, 2015 WL 7293530, at *1-2 (N.D.

     Ill. Nov. 19, 2015); Barton v. Ocwen Loan Servicing LLC, CIV. 12-162 MJD, 2013 WL

     5781324, at *6 (D. Minn. Oct. 25, 2013). See also the well-plead allegations in: Ackley v.

     Ocwen et al, Civ. No. 2:16-cv-15-JDL (D. Me. 2016); Ackley v. Ocwen et al, Civ. No.

     2:15-cv-43-JDL (D. Me. 2015); Fogg v. Ocwen et al, Civ. No. 1:16-cv-226-GZS (D. ME

     2016); Fogg v. Ocwen et al, Civ. No. 2:14-cv-454-GZS (D. Me. 2015); In re Alley, Civ.

     No. 13-02070, (Bankr. D. Me. 2014); Carson v. Ocwen et al, Civ. No. 2:150-cv-514-

     DBH (D. Me 2015).




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  84. On February 26, 2014, the Consumer Financial Protection Bureau (CFPB), together with

     attorneys general and state banking regulators in 49 states and the District of Columbia,

     obtained a Consent Judgment against OFC and its subsidiary Ocwen in the U.S. District

     Court for the District of Columbia, No. 13-cv-2025 (RMC). The consent order addresses

     OFC and Ocwen’s misconduct in mortgage servicing and includes a provision that

     Ocwen is to reconcile a debtor’s account upon an order granting a bankruptcy discharge

     to a debtor. Consent Order, Ex. A, ¶11(c). A copy of the Consent Judgment can be found

     at: https://nationalocwensettlement.com/Portals/0/Documents/ConsentJudgement.pdf.

  85. On December, 2014, Ocwen entered into a consent order with the New York State

     Department of Financial Services in part for Ocwen’s “failing to demonstrate

     implementation of policies and procedures to verify borrower information on newly

     boarded accounts to accurately reflect the status and current balance of the borrower’s

     account” and “inadequate and ineffective information technology systems and

     personnel.” A true and accurate copy of the Order is attached hereto as Exhibit 19 and

     incorporated herein by reference.

  86. On April 20, 2017, the Commissioner of Banks of Massachusetts entered an Order to

     Cease and Desist, No. 2017-001, against Ocwen in part for problems with Ocwen’s

     system of record, REALServicing, including “insufficient integration following

     acquisitions of other servicers.”

  87. At least 19 other states have taken regulatory action against Ocwen for issues with its

     REALServicing platform, which is used to process and apply borrower payments,

     communicate payment information to borrowers, and maintain loan balance information.

  88. Upon information and belief, Ocwen was using its REALServicing platform in servicing




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     Ms. Lord’s loan.

  89. On April 20, 2017, the Maine Bureau of Consumer Credit Protection, a part of a Multi-

     State Mortgage Committee, entered a Cease and Desist Order against OFC and Ocwen,

     Docket Number 2017-0103, causing Ocwen to immediately cease acquiring new

     mortgage servicing rights, and acquiring or originating new residential mortgages

     serviced by Ocwen due, in part, to their inability to accurately reconcile many of the

     consumer escrow accounts in its portfolio and routinely sending consumers “inaccurate,

     confusing and/or misleading escrow statements.” The Order can be found at the Bureau’s

     website: http://www.maine.gov/tools/whatsnew/index.php?topic=CCR-

     LegalDocs&id=742009&v=Default.

  90. Maine has received 55 complaints for Ocwen since late 2012, dealing with escrow,

     accounting, or other loan servicing issues. Id.

  91. Ocwen’s continued attempts to collect on the discharged debt from Ms. Lord caused her

     severe emotional distress. The first phone call she received from Ocwen was “heart

     stopping” when they said she still owed them over $190,000 even after the bankruptcy.

     She was afraid that somehow there had been a mistake, maybe a paper not filed or signed,

     and she now owed Ocwen this astronomical amount of money. Ocwen called her

     relentlessly after the bankruptcy discharge and even after several letters from her

     attorneys. She gave Ocwen her bankruptcy information numerous times but they still

     keep telling her she owed an outrageous amount of money. Every phone call and notice

     felt like starting over with them. She became increasingly irritable, frustrated, and angry

     and feared they would not stop and she would be responsible for the huge amount of

     money, which she knew she could never pay.




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  92. Ms. Lord also felt ashamed and embarrassed. She had filed bankruptcy and ultimately

     decided to surrender the property because she could not afford it. That process caused her

     a lot of guilt. She thought surrendering the property in her bankruptcy would give her a

     fresh start. After the discharge, she felt hope. Having Ocwen constantly remind her of

     the property and debt owed, however, made her remember the shame and guilt she felt in

     not being able to pay her mortgage. When the Ocwen notices and calls would not cease,

     Ms. Lord became more withdrawn and stopped doing things that used to give her

     pleasure such as making crafts and playing music.

  93. Ms. Lord also suffers from fibromyalgia and the stress of Ocwen’s calls and notices has

     caused her illness to become worse, causing her a lot of physical pain. The effort and

     energy she has put into dealing with this problem has caused her sleeplessness, muscle

     pain, and flare-ups that landed her in bed for days. It has also caused her to be depressed

     and anxious. The stress of the issues has also led to tension and fighting between her and

     her partner of 20 years.

                                      IV.     CLAIMS

   COUNT ONE: Violation of the Bankruptcy Discharge Injunction, 11 U.S.C. § 524
                            (Ocwen/ Deutsche Bank)


  94. The Plaintiff repeats and realleges and incorporates by reference the paragraphs above as

     if fully set out herein.

  95. Ocwen had notice of Ms. Lord’s bankruptcy, including the discharge, and participated in

     Ms. Lord’s bankruptcy. See Doc. No.10-21910.

  96. Ocwen violated the Bankruptcy Discharge Injunction, 11 USC § 524, by, including but

     not limited to, having notice of the bankruptcy filing and willfully 1) attempting to collect



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     on the discharged loan; 2) misrepresenting amounts due related to the discharged loan; 3)

     misrepresenting the status of the discharged loan; and 4) reporting inaccurately to the

     credit reporting bureaus.

  97. Ocwen’s conduct was unfair, coercive, harassing, willful, and knowing.

  98. Ms. Lord felt harassed and coerced to the point that she believed Ocwen would not stop

     until she paid them everything they claimed she owed, an impossible task given the

     amounts they claimed due.

  99. As a result of Ocwen’s conduct, including its actions and inactions, Ms. Lord suffered

     actual damages, including but without limitation: attorneys’ fees and mailing costs, utter

     frustration and desperation, and other emotional and mental distress as outlined above.

  100.       Further, as detailed above, Ocwen has engaged in a pattern and practice of trying

     to collect from debtors on debts listed in bankruptcy.

  101.       Such conduct is outrageous and egregious.

  102.       Ocwen’s actions demonstrate its knowing, willful violation of 11 U.S.C. § 524.

  103.       Deutsche Bank had notice of the bankruptcy and participated in the bankruptcy.

     See Bankr. Doc.37-40.

  104.       Deutsche Bank is individually liable for violation of the bankruptcy discharge

     injunction by hiring and maintaining Ocwen as servicer for Ms. Lord’s loan when it knew

     or should have known Ocwen engaged in a pattern and practice of violating 11 U.S.C.

     §524.

  105.       Deutsche Bank was reckless in employing Ocwen to continue servicing Ms.

     Lord’s loan.

  106.       As the principal of Ocwen, Deutsche Bank is also jointly and severally liable for




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       Ocwen’s conduct.

   107.          Ms. Lord is entitled to receive from the Defendants actual and compensatory

       damages, including costs and attorneys’ fees, and punitive damages in this matter

       pursuant to 11 U.S.C. § 524, and further relief as may be just and proper.

   COUNTS TWO and THREE: Violation of the Fair Debt Collection Practices Act, 15
  U.S.C. § 1692 Et Seq., and the Maine Fair Debt Collection Practices Act, 32 M.R.S.A. §
                                      11001 Et Seq.
                                        (Ocwen)


   108.          The Plaintiff repeats and realleges and incorporates by reference the paragraphs

       above as if fully set out herein.

   109.          Within one year prior to the filing of this suit, and ongoing for more than one year

       prior, by example only and without limitation, Ocwen violated the Fair Debt Collection

       Practices Act, 15 U.S.C. § 1692 et seq., and the Maine Fair Debt Collection Practices Act

       32 M.R.S.A. § 11001 et seq. (collectively the “FDCPA”), as outlined above, specifically

       by:

a. Falsely representing the character, amount, and legal status of the loan debt through letters

dated at least September 19, 2016 to the present, phone calls, and reports to the credit reporting

agencies (15 U.S.C. § 1692e(2); 32 M.R.S.A. § 11013(2)(B)) Ex.s 5-10;

b. The use of false representations and deceptive means to collect on the loan debt through

letters, statements, calls, and inaccurate credit reporting (15 U.S.C. § 1692e(10); 32 M.R.S.A. §

11013(2)) Id.;

c. Engaging in conduct, the natural consequence of which was to harass, oppress or abuse Ms.

Lord in connection with the collection of the mortgage debt by delivering notices and making

phone calls seeking payment of monies not owed, misrepresenting the status of the debt, and




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reporting inaccurate amounts owed to the credit reporting agencies. (15 U.S.C. § 1692d; 32

M.R.S.A. § 11013(1)) Id;

d. Using unfair or unconscionable means to collect or attempt to collect on the mortgage debt

through letters, statements, and calls misrepresenting the status of the debt, and inaccurate credit

reporting. (15 U.S.C. § 1692f; 32 M.R.S.A. § 11013(3)) Id.

   110.        As a result of the conduct, actions and inactions of Ocwen, Ms. Lord suffered

       actual damages including, without limitation, legal fees and costs, costs associated with

       trying to address and stop the conduct, harassment, coercion, fear and anxiety, and other

       emotional and mental distress as detailed above.

   111.        Ms. Lord is entitled to recover actual damages, including emotional distress

       damages, statutory damages, costs and attorney’s fees from Ocwen, and such further

       relief as may be just and proper.

  COUNT FIVE: Violation of the Unfair Trade Practices Act, 5 M.R.S.A. § 205-A Et Seq.
                              (Ocwen/ Deutsche Bank)


   112.        The Plaintiff repeats and realleges and incorporates by reference the paragraphs

       above as if fully set out herein.

   113.        The Defendants violated the Maine Unfair Trade Practices Act by engaging in

       unfair and deceptive conduct, including but not limited to: (a) attempting to collect on

       debt that had been discharged in the bankruptcy; (b) misrepresenting amounts now due;

       (c) misrepresenting the status of the debt; (d) attempting to collect on hazard insurance

       premiums when the property had been surrendered and the debt discharged in the

       bankruptcy; (e) attempting to collect money from Ms. Lord on the debt after foreclosure

       judgment entered and after the redemption period had run; (f) calling Ms. Lord repeatedly




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     in an attempt to collect the debt; (g) failure to correct the issue after complaints by Ms.

     Lord and her counsel; (g) soliciting Ms. Lord’s for a new modification to pay on the

     discharged debt; and (h) misreporting inaccurate amounts due to the credit reporting

     agencies.

  114.         Such conduct was unfair and deceptive as it would mislead the average consumer,

     and did mislead Ms. Lord, regarding the status of her loan and amounts owed.

  115.         Such conduct misled Ms. Lord to believe she might somehow owe this money and

     that the only way to get Ocwen to stop would be to pay the outrageous amounts alleged

     owed, which she could not do.

  116.         Ms. Lord sent demand letters to Ocwen and Deutsche Bank per 5 M.R.S.A. § 213

     on October 5, 2017. Ex. 12, 13. Neither Ocwen nor Deutsche Bank provided an offer to

     settle.

  117.         The Plaintiff is entitled to actual damages, including emotional damages,

     attorneys’ fees and costs, and such other relief the Court does deem just, equitable, and

     proper.

COUNT SIX: Violation of the Real Estate Settlement Procedures Act 12 U.S.C. § 2605 et
                        seq. and 12 C.F.R. §§ 1024.35 & .36
                                     (Ocwen)

  118.         The Plaintiff repeats and realleges and incorporates by reference the paragraphs

     above as if fully set out herein.

  119.         Ms. Lord, through counsel, delivered Qualified Written Requests (QWRs) which

     included a Notice of Error (NOE) and Requests for Information (RFI) to Ocwen on

     October 5, 2017, and November 9, 2017, to Ocwen’s designated address or fax number.

     The name of the borrower, the account number, and a statement of the reasons why Ms.



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     Lord believed the account was in error, including supporting documents, were included in

     the QWRs. Ex.s 13, 16.

  120.      Ocwen failed to conduct a reasonable investigation into the errors alleged in the

     QWR and correct all such errors.

  121.      In its November 3, 2017, response (Exhibit 15), Ocwen incorrectly stated that the

     property was not surrendered and the “above referenced loan is still outstanding and has

     not been paid in full.”

  122.      This response caused Ms. Lord increased anxiety and distress and she believed

     that somehow she might actually owe the money and that Ocwen really would not stop

     trying to collect this money from her because they still believed she owed it.

  123.      In their letter dated December 8, 2017 (Exhibit 18), Ocwen finally admitted that,

     because of the bankruptcy discharge, Ms. Lord was not personally liable on the debt.

     Ocwen continued to state, however, that Ocwen may foreclose its security interest in the

     property and that the foreclosure hold will be removed once the concern is addressed on

     the loan, even though a foreclosure had already been completed.

  124.      These continued misrepresentations and inaccuracies caused Ms. Lord great alarm

     and concern, wondering if there had been a mistake with her bankruptcy and she actually

     owed the money or whether Ocwen ever would figure out the correct status of the loan.

  125.      Ocwen further failed to provide the name and telephone number of an individual

     employed by, or the office or department of, the servicer who can provide assistance to

     the borrower.




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   126.       Upon information and belief, Ocwen continued to provide information regarding

       alleged overdue payments by Ms. Lord’s to the credit reporting agencies during the 60-

       day period after receipt of the QWRs.

   127.       Ocwen’s multiple violations of RESPA evidence a pattern and practice of

       violation of RESPA.

   128.       Ocwen also has engaged in a pattern and practice of failing to comply with

       RESPA in other cases locally and nationwide as noted above.

   129.       Ocwen does not have proper policies and procedures in place to properly evaluate

       and respond to borrowers’ QWRs and comply with the requirements of RESPA.

   130.       Had Ocwen investigated the issues and corrected the account after the first QWR,

       Ms. Lord would not have had to incur mailing costs and fees to send a second QWR. Ms.

       Lord also would not have suffered much of the emotional distress described above related

       to Ocwen’s continued insistence that she owed over $190,000 on the loan. .

   131.       Ms. Lord is entitled to actual and statutory damages, attorneys’ fees and costs, as

       well as any other relief the Court deems appropriate.


                                     Demand for Jury Trial

       Please take notice that the Plaintiff demands a trial by jury in this action.

Dated at Biddeford, Maine, this 18th day of January, 2018.

                                                              /s/Andrea Bopp Stark ________
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